
PER CURIAM.
Upon review of the record in this case and the arguments of the parties, we conclude that the trial judge properly granted the equitable relief which he found appropriate after the nonjury trial. Since all of the limited partners and the general partner of the limited partnership were parties to the suit, the trial judge had jurisdiction to grant the relief contained in the final judgment. Under such circumstances, the final judgment was properly entered even though the limited partnership itself was not a party. We view the trial judge’s declaration that the limited partnership is nonexistent to be unnecessary for the implementation of the remedies contained in the final judgment.
Accordingly, we affirm.
DANAHY, C.J., and LEHAN and PARKER, JJ., concur.
